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                              UNITED STATES DISTRICT COURT
                               DISTRICT OF MASSACHUSETTS


 UNITED STATES OF AMERICA

        v.                                         CRIMINAL No. 1:24-cr-10071-FDS

 ERIC TABARO NSHIMIYE,
  a/k/a Eric Tabaro Nshimiyimana,

         Defendant



         JOINT STATUS REPORT AND MOTION FOR EXCLUSION OF TIME

        The United States of America and the defendant, through counsel, hereby submit this

joint status report at the request of the Court.

        The defendant moved on October 24, 2024, to apply ex parte for the issuance of letters

rogatory. [D.55.] The government opposed that motion on November 15, 2024. [D.58.] The

Court granted the defendant’s motion on December 17, 2024, and ordered the defendant to file

his motion for letters rogatory no later than January 17, 2025. [D.62.] The defendant filed his

motion on January 17, 2025. In the meanwhile, on December 30, 2024, the government moved

for clarification and reconsideration of the Court’s December 17 order. [D.63.] The government

also requested a hearing on the motion. Id. The defendant opposed the government’s motion on

January 13, 2025, and opposes a hearing on the motion. [D.64.]

        At a status conference on January 22, 2025, the Court stated that it had not yet had a

chance to deeply review the defendant’s motion for letters rogatory. The parties await the

Court’s ruling both on that motion and on the government’s motion for reconsideration. Given

that the issuance of letters rogatory may affect the case timetable, the government respectfully

requests notification when the Court decides this matter and the disclosure of any other
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information that can be appropriately shared – unless, of course, the Court also issues a public

order or statement that describes its findings and covers these issues.

       Also, on January 29, 2025, the government produced information culled from the case

files of United States v. Jean Leonard Teganya, 1:17-cr-10292-FDS (D.Mass.), Unites States v.

Prudence Kantengwa, 1:08-cr-10385-RGS (D.Mass.), and United States v. Beatrice Munyenyezi,

10-cr-00085-SM (D.N.H.). This information includes about 650 pages of additional defense

Jencks, expert-related documents, photos and maps, and other general materials. This

information was not covered by rules relating to automatic discovery or to exculpatory evidence.

Next, on February 13, 2025, the government invited the defense to inspect 11 banker’s boxes of

hard copy discovery produced to the defense in Kantengwa and Munyenyezi. The government

has reminded the defense that all of this material, kept at the U.S. Attorney’s Office, should be

deemed “Protected Information Subject to Protective Order,” as that phrase is used the Protective

Order entered in this matter [D.35], even though each page is not so marked. The government is

also working to produce the contents of about 70 compact discs containing information relating

to the Kantengwa and Munyenyezi cases. The government hopes that it will be able to produce

electronic versions of this information by March 19, 2025. Some of these materials are also

subject to the Protective Order issued in this case. [D.35.] The defense is continuing to review

discovery produced in this matter.

       Given the status of discovery and motion practice in this matter, the parties jointly

request that the Court schedule a status conference on or about April 5, 2025, unless the Court

wishes to see the parties sooner. The government – with the assent of the defense – also moves

that the court find that the ends of justice served by continuing the case until April 5, 2025,

outweigh the best interest of the public and the defendant in a speedy trial, because failing to



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grant the continuance would deny counsel for both the Government and the defendant the

reasonable time necessary for effective preparation, taking into account the exercise of due

diligence. 18 U.S.C. §§ 3161(h)(7)(A),(B)(iv).

       The government – with the assent of the defense – also moves the Court to exclude time

between December 30, 2025, and the disposition of the government and defense pretrial motions

from the computation of the Speedy Trial clock. 18 U.S.C. § 3161(h)(1)(D).



                                                      Respectfully submitted,

       ERIC TABARO NSHIMIYE                           LEAH B. FOLEY
       Defendant                                      United States Attorney

By:    s/ Maksim Nemtsev by JTM                  By: s/ Amanda Beck
       Maksim Nemtsev                                Amanda Beck
       Kurt P. Kerns                                 Assistant United States Attorney
       Counsel to Eric Tabaro Nshimiye




                                CERTIFICATE OF SERVICE


I hereby certify that this document filed through the ECF system will be sent electronically to the
registered participants as identified on the Notice of Electronic Filing (NEF).

                                             s/ Amanda Beck
                                             Amanda Beck
                                             Assistant United States Attorney


Date: March 4, 2025




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